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Invoice submitted to:                                                              Fed ID # XX-XXXXXXX


Committee of Unsecured Creditors' Committee
.

Invoice Date:   February 13, 2013
062429     062429 Residential Capital, LLC- Counsel to Creditors' Committee
                  File # 062429
Invoice #    91416
             Professional services
                                                                                 Hours          Amount
        Asset Sale
11/14/12     RJF        Telephone call with Elise Frejka regarding 363(o)        0.30            157.50
                        provisions in sale order for servicing rights
11/14/12     RJF        Review memo on legislative history of 363(o)             0.20            105.00
11/14/12     BWP        Research re: legislative history of section 363(o) and   3.80            570.00
                        the Truth in Lending Act in connection with protection
                        of borrower interests in proposed sale of mortgages;
                        draft memorandum to Ronald J. Friedman regarding
                        same
11/14/12     BWP        Research re: section 363(o) in connection with           0.90            135.00
                        protection of borrower interests in proposed sale of
                        mortgages
11/15/12     RJF        Legal research regarding Bankruptcy Court sales of       0.50            262.50
                        servicing rights
11/15/12     RJF        Review correspondence from Brian Powers                  0.10              55.00
                        regarding Memorandum on 363(o)
11/15/12     RJF        Review correspondence from Elise Frejka regarding        0.10              55.00
                        Ocwen Sale
11/15/12     RJF        Review correspondence from Brian Powers                  0.10              55.00
                        regarding research on 363(o)
11/15/12     BWP        Review correspondence from Ronald J. Friedman re:        0.20              30.00
                        section 363(o) memorandum and incorporation into
                        an objection; draft response to Ronald J. Friedman
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                       and Elise Frejka attaching same
11/15/12    BWP        Review amended proposed order approving sale for                 1.10            165.00
                       issues affecting borrowers
11/15/12    BWP        Review court docket and related filings in connection            1.20            180.00
                       with sale hearing
11/16/12    RJF        Review correspondence from Brian Powers                          0.10             55.00
                       regarding hearing on asset sale
11/16/12    RJF        Review correspondence from Nathaniel Allard of                   0.10             55.00
                       Kramer Levin regarding NACA's Objection to Sale of
                       Debtors' Assets to Ocwen
11/16/12    LMM        Review correspondence from correspondences from                  0.40             78.00
                       Judith A. Kopen and Kevin C. Kovacs objecting to
                       sale of loans by GMAC in anticipation of conference
                       call with Ronald J. Friedman and Committee
                       personnell
11/16/12    BWP        Review committee's statement regarding proposed                  0.40             60.00
                       sale orders in preparation for upcoming sale hearing
11/16/12    BWP        Prepare documents and research for Ronald J.                     1.20            180.00
                       Friedman in connection with upcoming sale hearing
11/16/12    BWP        Review objection to sale and list of potential                   0.40             60.00
                       witnesses of Neighborhood Assistance Corporation
                       of America in connection with upcoming sale hearing
                       (.3); confer with Ronald J. Friedman regarding same
                       (.1)
11/18/12    RJF        Review sale hearing binders and proposed orders                  2.50           1,312.50
                       regarding Borrower issues and prepare for sale
                       hearing
11/19/12    RJF        Prepare for and attend sale hearings, confer with                8.00           4,200.00
                       Kramer Levin and Morrison Foerster, confer with
                       counsel to NACA, conduct settlement discussion with
                       NACA, and Debtor, confer with those parties,
                       prepare cross-examination from Witness' declaration
11/19/12    BP         Draft e-mail to Ronald J. Friedman regarding a Mr.               0.20             39.00
                       Jenkins in connection with an auction scheduled for
                       November 27, 2012
11/19/12    BWP        Travel to and attend hearing regarding sale of all or            7.50       No Charge
                       substantially all of Debtors' assets
11/20/12    RJF        Conference with Lynne M. Manzolillo regarding                    0.20            105.00
                       Ocwen loan service transition issues for borrowers
11/20/12    LMM        Review correspondence from Rachael Ringer                        0.60            117.00
                       regarding asset sale, issues regarding Ocwen as
                       loan service provider and DLI backup bidder
                       issues(.4); confer with Ronald J. Friedman regarding
                       same (.2)
11/20/12    RJF        Review correspondence from Elise Frejka enclosing                0.10             55.00
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                       Amended Ocwen Sale Order
11/20/12     RJF       Review correspondence from Stephen Zide of                      0.10             55.00
                       Kramer Levin enclosing revised Ocwen sale order
                       and exhibits thereto
11/20/12     RJF       Review correspondence from Rachael Ringer                       0.10             52.50
                       regarding updates on Sale Hearing Update and
                       Letter to AFI Board
11/20/12     RJF       Telephone call with Elise Frejka regarding                      0.10             52.50
                       submission of sale orders
                    Subtotal           Asset Sale                                 30.50            $8,246.50
         Case Administration
10/25/12     RJF       Review correspondence from Elise Frejka regarding               0.10             55.00
                       details and contact parties
10/25/12     RJF       Review materials and docket related to Borrower                 0.20           105.00
                       issues and special committee counsel
10/26/12     RJF       Review correspondence from Elise Frejka regarding               0.10             52.50
                       Residential Capital
10/26/12     RJF       Review correspondence from Brian Powers                         0.10             55.00
                       regarding whole loan auction results
10/26/12     RJF       Review correspondence from Elise Frejka regarding               0.10             55.00
                       conference call
10/26/12     RJF       Review correspondence from Christine M. Wittneben               0.10             55.00
                       regarding set up of Rescap Telephone Line
10/26/12     RJF       Review correspondence from Elise Frejka confirming              0.10             55.00
                       time for conference call
10/26/12     RJF       Review correspondence from Christine M. Wittneben               0.10             55.00
                       regarding new email set up
10/26/12     RJF       Review correspondence from Elise Frejka regarding               0.10             55.00
                       all hands call
10/26/12     RJF       Review correspondence from Lynne M. Manzolillo                  0.10             55.00
                       regarding conference call
10/26/12     RJF       Review correspondence from Alison M. Tearnen                    0.10             55.00
                       Schepper regarding conference call
10/26/12     RJF       Review correspondence from Elise Frejka to Brian                0.10             55.00
                       Masumoto advising of Committee intentions to retain
                       SilvermanAcampora as special counsel for borrower
                       related issues
10/26/12     RJF       Review correspondence from Nathaniel Allard                     0.10             55.00
                       regarding call logs & email logs
10/26/12     RJF       Review correspondence from Todd W. Wuertz of                    0.10             55.00
                       Epiq Systems regarding phone number
10/26/12     RJF       Review correspondence from Todd Wuertz regarding                0.10             55.00
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                       ResCap Phone Number
10/26/12    RJF        Review correspondence from Christine M. Wittneben                 0.10             55.00
                       regarding setup of ResCap distribution list in the GAL
10/26/12    RJF        Review correspondence from Christine M. Wittneben                 0.10             55.00
                       regarding ResCap Telephone Lines
10/26/12    RJF        Review correspondence from Todd W. Wuertz                         0.10             55.00
                       regarding call center phone number
10/26/12    RJF        Prepare correspondence to and receive response                    0.10             55.00
                       from Brian Powers regarding meeting to discuss
                       matter and organization of team
10/26/12    RJF        Conference with Berlinda Pierre-Louis, Brian                      0.50           262.50
                       Powers, Lynne M. Manzolillo, and Sara Greenberg
                       regarding engagement as special counsel and case
                       background, review bar date information and
                       disseminate same
10/26/12    RJF        Conference call with Elise Frejka from Kramer Levin,              0.75           393.75
                       Epiq and KCC regarding transition of borrower
                       inquiries
10/26/12    RJF        Prepare correspondence to Alison M. Tearnen                       0.10             55.00
                       Schepper regarding 800 line for borrowers
10/26/12    RJF        Prepare correspondence to Toss Wuertz regarding                   0.10             55.00
                       ResCap Phone Number
10/26/12    ACA        Staff meeting regarding borrower issues and                       0.50           297.50
                       responding to same
10/26/12    LMM        Confer with Christine M. Wittneben and draft                      0.30             58.50
                       voicemail message for telephone hotline to be
                       installed today
10/26/12    LMM        Prepare for and attend meeting for representation as              1.00           195.00
                       special counsel to Committee with Anthony C.
                       Acampora, Ronald J. Friedman, Brian W. Powers,
                       Berlinda Pierre-Louis, and Sara Greenberg
10/26/12    CMW        Coordinate dedicated telephone line and email                     0.50             97.50
                       address for Rescap; confer with Ron Friedman,
                       Christine Tiso, and Lynne Manzolillo
10/26/12    CMW        Confer with Telephone Vendor, Blackbox, to                        2.50           487.50
                       configure the Rescap Telephone Lines, Button
                       Apperances on various users; and configure Outlook
                       to receive VoiceMessages for two users
10/26/12    SG         Telephone call with Support Center regarding set up               0.30             45.00
                       of new email address to receive all phone calls and
                       inquiries regarding ResCap
10/26/12    SG         Conference call with Ronald J. Friedman, Lynne M.                 1.50           225.00
                       Manzolillo, Berlinda Pierre-Louis, Brian Powers
                       regarding borrower issues
10/26/12    SG         Attend office meeting with Ronald J. Friedman,                    0.50             75.00
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                       Anthony C. Acampora, Brian W. Powers, Christine
                       M. Tiso and Lynne M. Manzolillo to discuss Res-Cap
                       matter and preparation of case administration
10/26/12    SG         Conference with Lianna R. Kopito with respect to                  0.20             30.00
                       motion for default judgment in the adversary
                       proceeding against Minority Opportunity America;
                       discussion regarding service of same
10/26/12    BP         Attend conference call to Counsel to Unsecured                    1.50           292.50
                       Creditors, Epiq, KCC LLC, and team regarding
                       administration of case
10/26/12    BP         Attend office meeting with Ronald J. Friedman, Sara               0.50             97.50
                       Greenberg, Anthony C. Acampora, Brian W. Powers,
                       Christine M. Tiso, and Lynne M. Manzolillo to discuss
                       Res-Cap matter and preparation of case
                       administration
10/26/12    BP         Perform docket search of case(.3); review Kurtzman                1.30           253.50
                       Carson case site(.5); draft working group list for all
                       counsel and administrative support involved in this
                       matter (.5)
10/26/12    BP         Draft e-mail to attorneys and paralegals enclosing                0.10             19.50
                       working group list and information regarding same
10/26/12    BP         Review summary of Orders Related to                               0.30             58.50
                       Borrower-Automatic Stay
10/26/12    BP         Prepare case file with necessary and relevant                     1.00           195.00
                       documents(.5) ; prepare inquiry and creditor
                       spreadsheet (.5)
10/26/12    BWP        Office conference with Ronald J. Friedman, Anthony                0.60             90.00
                       C. Acampora, Lynne M. Manzolillo, Berlinda
                       Pierre-Louis, and Sara Greenberg re: scope of
                       retention and case overview
10/26/12    BWP        Draft memo to Ronald J. Friedman re: summary of                   1.70           255.00
                       limited lift stay orders and their connection to
                       borrower issues
10/26/12    BWP        Draft correspondence to Lynne M. Manzolillo,                      0.20             30.00
                       Berlinda Pierre-Louis, Sara Greenberg and Christine
                       Tiso regarding case history
10/26/12    BWP        Review court's docket and orders affecting borrowers              1.90           285.00
10/26/12    BWP        Conference call with Ronald J. Friedman, Berlinda                 1.50           225.00
                       Pierre-Louis, Sara Greenberg, counsel to the
                       Committee, counsel to the Debtors, KCC, and Epiq
                       regarding scope of SilvermanAcampora retention
                       and logistics of handling calls
10/26/12    BWP        Review call and email backlog spreadsheets; review                0.80           120.00
                       KCC FAQ list
10/27/12    RJF        Review correspondence from Berlinda Pierre-Louis                  0.20           110.00
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062429     Committee Unsecured Creditors                               Invoice # 91416           Page      6
                       (.1) and respond thereto (.1) regarding active phone
                       line
10/27/12    RJF        Prepare correspondence to Brian Powers regarding                  0.10             55.00
                       call log
10/27/12    RJF        Prepare correspondence to Brian Powers regarding                  0.10             55.00
                       calls and questions from borrowers
10/27/12    RJF        Review correspondence from Brian Powers                           0.10             55.00
                       regarding calls and details
10/27/12    RJF        Review correspondence from Todd W. Wuertz                         0.10             55.00
                       regarding new phone number & call/email logs
10/27/12    RJF        Prepare correspondence to Silverman Acampora                      0.10             55.00
                       team regarding new phone number & call/email logs
10/27/12    RJF        Review correspondence from Brian W. Powers                        0.10             55.00
                       regarding litigation issues and regarding email logs
10/27/12    BP         Review spreadsheet from Epiq enclosing call log                   0.50             97.50
                       information regarding borrowers who inquired about
                       the bankruptcy(.3); review e-mails regarding same;
                       draft e-mail to team regarding handling of same (.2)
10/27/12    BWP        Return phone calls to borrowers and update logs                   0.40             60.00
10/28/12    RJF        Review correspondence from Lynne M. Manzolillo                    0.10             55.00
                       regarding handling of calls
10/31/12    RJF        Review correspondence from Christine M. Wittneben                 0.10             55.00
                       regarding second distribution list
10/31/12    RJF        Review correspondence from Lynne M. Manzolillo                    0.10             55.00
                       enclosing a list of Debtors
10/31/12    RJF        Review correspondence from Brian Powers                           0.10             55.00
                       regarding status update
10/31/12    RJF        Review correspondence from Sara Greenberg                         0.10             55.00
                       regarding filing receipts
10/31/12    RJF        Review correspondence from Amy Lewis enclosing                    0.10             52.50
                       ResCap email and call logs
10/31/12    RJF        Review sale Asset Purchase Agreement regarding                    2.00           1,050.00
                       potential borrower issues and successful bidder
10/31/12    LMM        Review call logs and cross reference all dates to                 4.20            819.00
                       determine number of calls requiring returned
                       calls(4.0);confer with Brian W. Powers and Sara
                       Greenberg regarding same(.1); follow up conference
                       with Ronald J. Friedman regarding same (.1)
10/31/12    LMM        Review of pleadings and Questions and Answers                     1.20            234.00
                       from EPIQ in advance of fielding calls(.9); confer with
                       Berlinda Pierre-Louis, Brian W. Powers and Sara
                       Greenberg regarding same (.3)
10/31/12    SG         Review Order Establishing Deadline for Filing Proofs              0.50             75.00
                       of Claim and Approving the Form and Manner of
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                       Notice Thereof
10/31/12    SG         Conference with Brian W. Powers regarding issues                 0.50             75.00
                       relating to communications with borrowers
10/31/12    SG         Review notes regarding ResCapital from conference                0.50             75.00
                       call held on Friday October 26, 2012 (.2); Organize
                       notes (.3)
10/31/12    SG         Review Residential Capital call logs and email logs              0.70           105.00
                       to verify who has received correspondence regarding
                       the many inquiries
10/31/12    SG         Review kccllp.com's website and research general                 0.50             75.00
                       questions and answers regarding Official Committee
                       of Unsecured Creditors and frequently asked
                       questions(.4); print and disburse to Brian W. Powers,
                       Berlinda Pierre-Louis and Lynne M. Manzolillo 9.1)
10/31/12    BP         Confer with Brian W. Powers regarding                            0.50             97.50
                       adminsitration of matters and review call logs and
                       divided tasks
10/31/12    BP         Draft form of e-mail to parties of interest in the               0.20             39.00
                       ResCap matter in reply to inquiry regarding notices
                       received
10/31/12    BP         Review FAQs from EPIQ                                            0.10             19.50
10/31/12    BP         Review inquiry from Annie Hanna Cestra regarding                 0.30             58.50
                       notice received regarding committee; draft e-mail in
                       reply
10/31/12    BP         Review inquiry from Rashwanda Stewart regarding                  0.50             97.50
                       receipt of Notice(.3); reply to e-mail (.2)
10/31/12    BP         Review inquiry from Trina Shatto regarding Notice                0.30             58.50
                       received; reply to same
10/31/12    BP         Review inquiry from Todd McDowell regarding                      0.30             58.50
                       bankruptcy notice received; reply
10/31/12    BP         Review e-mail logs from 10/30                                    1.00           195.00
10/31/12    BWP        Review Epiq call logs and FAQs in connection with                1.70           255.00
                       responses to borrower inquiries
10/31/12    BWP        Office conference with Berlinda Pierre-Louis re:                 0.50             75.00
                       responses to borrower inquiries and status of
                       responses to borrowers listed on Epiq's call logs
10/31/12    BWP        Office conference with Lynne M. Manzolillo and Sara              0.50             75.00
                       Greenberg re: responses to borrower inquiries and
                       status of responses to borrowers listed on Epiq's call
                       logs
10/31/12    BWP        Review Debtors' schedules and service lists in                   2.70           405.00
                       connection with responses to borrower inquiries
10/31/12    BWP        Draft email responses to borrower inquiry emails on              0.70           105.00
                       the Epiq email log
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11/01/12    RJF        Review correspondence from Brian Powers                             0.10             55.00
                       regarding service lists
11/01/12    RJF        Review correspondence from Amy Lewis enclosing                      0.10             52.50
                       email and call logs for ResCap from 10/31/12
11/01/12    RJF        Review correspondence from from Amy Lewis                           0.10             52.50
                       enclosing ResCap email and call log from 11/1/2012
11/01/12    RJF        Review collateral logs regarding borrower inquiries                 0.20            105.00
11/01/12    SG         Review charts regarding responses to be made to                     1.00            150.00
                       borrowers
11/01/12    BP         Reply to e-mails from parties having received notice                5.20           1,014.00
                       regarding case
11/01/12    BP         Confer with Brian W. Powers regarding                               1.00            195.00
                       administration of the e-mails and call logs and
                       answers regarding same
11/01/12    BWP        Draft response email to Horizon Community Services                  0.10             15.00
                       re: Committee email address
11/01/12    BWP        Draft response email to Alice Nichols re:Committee                  0.10             15.00
                       email address
11/01/12    BWP        Research and draft response email to Mike Bergeron                  0.10             15.00
                       re: Committee email address
11/01/12    BWP        Draft response email to Gordon Gouveia re:                          0.10             15.00
                       Committee email address
11/01/12    BWP        Draft response email to Yolanda Quezada re:                         0.10             15.00
                       Committee email address
11/01/12    BWP        Draft response email to Janna Havener of Baldwin                    0.20             30.00
                       Real Estate Management re:Committee email
                       address
11/01/12    BWP        Draft response email to Donna Booth re:Committee                    0.20             30.00
                       email address
11/01/12    BWP        Draft response email to Ivan Acosta re:Committee                    0.30             45.00
                       email address
11/01/12    BWP        Office conferences with Berlinda Pierre-Louis re:                   1.20            180.00
                       email and call logs and responses to same
11/01/12    BWP        Review Epiq call logs in connection with determining                1.60            240.00
                       which entries require responses
11/01/12    BWP        Review email from Alice Nichols re: our response to                 0.10             15.00
                       her inquiry
11/01/12    BWP        Draft response email to Rashawnda Stewart re:                       0.10             15.00
                       inquiry to Committee email address
11/01/12    BWP        Confer with Christine M. Wittneben re: toll free phone              0.30             45.00
                       number and emergency phone setup due to
                       hurricane
11/01/12    BWP        Draft response email to John Belton re: inquiry to                  0.10             15.00
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                       Committee email address
11/01/12    BWP        Draft response email to Renee Griffith re: inquiry to                0.10             15.00
                       Committee email address
11/01/12    BWP        Confer with Ronald J. Friedman re: issues of                         0.20             30.00
                       borrowers in telephone calls and emails
11/01/12    BWP        Draft response email to Ben Weiland re: inquiry to                   0.10             15.00
                       Committee email address
11/01/12    BWP        Draft response email to Michael Baron re: inquiry to                 0.30             45.00
                       Committee email address
11/02/12    RJF        Review call/email logs and ensure responses                          0.25           131.25
11/02/12    BWP        Draft response email to Morgan Sky re: inquiry to                    0.10             15.00
                       Committee email address
11/02/12    BWP        Return phone call to Karen Garcia regarding call to                  0.10             15.00
                       ResCap Committee hotline regarding process
11/02/12    BWP        Return phone call to Ms. Myers regarding call to                     0.10             15.00
                       ResCap Committee hotline regarding bankruptcy
                       process
11/02/12    BWP        Receive phone call from Karen Garcia on ResCap                       0.20             30.00
                       Committee hotline regarding bankruptcy process
11/02/12    BWP        Telephone call from Malbin Paige on ResCap                           0.30             45.00
                       Committee hotline regarding bankruptcy process
11/02/12    BWP        Draft response email to Chestnut Hills HOA re:                       0.10             15.00
                       inquiry to Committee email address
11/02/12    BWP        Confer with Christine M. Wittneben re: toll free                     0.10             15.00
                       number
11/02/12    BWP        Draft response email to Christine Bohlander re:                      0.10             15.00
                       inquiry to Committee email address
11/02/12    BWP        Draft response email to Jon Hensley re: inquiry to                   0.10             15.00
                       Committee email address
11/02/12    BWP        Draft response email to Lawrence Duchette re:                        0.10             15.00
                       inquiry to Committee email address
11/02/12    BWP        Draft response email to Katherine Gough re: inquiry                  0.10             15.00
                       to Committee email address
11/02/12    BWP        Draft response email to Ellen Rogers re: inquiry to                  0.10             15.00
                       Committee email address
11/02/12    BWP        Draft response email to Dr. Ben Latigo re: inquiry to                0.10             15.00
                       Committee email address
11/02/12    BWP        Draft response email to Robert Nastri re: inquiry to                 0.10             15.00
                       Committee email address
11/02/12    BWP        Review call and email logs and revise same to                        1.10           165.00
                       indicate completed responses
11/02/12    BWP        Draft response email to Susan D. Gregg re: inquiry to                0.10             15.00
                       Committee email address
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11/02/12    BWP        Review case docket re: responses to borrower                    0.60             90.00
                       questions
11/02/12    BWP        Review past call and email logs for overlapping                 1.20           180.00
                       inquiries in connection to responses to same
11/02/12    BWP        Review correspondence from Berlinda Pierre-Louis                0.30             45.00
                       re: call and email logs; draft response to same
11/02/12    BWP        Review email from Lawrence Duchette                             0.10             15.00
11/05/12    RJF        Review correspondence from Alison M. Tearnen                    0.10             55.00
                       Schepper regarding posting of number on website
11/05/12    RJF        Review correspondence from Elise Frejka regarding               0.10             55.00
                       linking of the debtor's website to the committee's
                       website
11/05/12    RJF        Review correspondence from Amy Lewis enclosing                  0.10             52.50
                       ResCap email and call logs from 11/2/2012
11/05/12    ACA        Review operative documents regarding borrower                   1.00           595.00
                       issues
11/05/12    LMM        Review 11/2/12 call log and confer with Berlinda                0.40             78.00
                       Pierre-Louis regarding same (.2); telephone
                       conference with Brian W. Powers regarding status
                       (.2)
11/05/12    LMM        Confer with Berlinda Pierre-Louis regarding scope of            0.20             39.00
                       inquiries she has received to date to resolve open
                       issues
11/05/12    SG         Numerous telephone calls from potential creditors in            0.40             60.00
                       Residential Capital LLC case regarding information
                       for filing of a proof of claim and where to mail the
                       information before the bar date deadline
11/05/12    BP         Telephone call with Grace regarding notice to file              0.20             39.00
                       Proof of Claim; discuss possible actions regarding
                       same; draft e-mail to Garce enclosing copy of Proof
                       of Claim form
11/05/12    BP         Review messages and return telephone calls                      3.50           682.50
11/05/12    BP         Review and compare call logs; organize same                     1.00           195.00
11/06/12    RJF        Review correspondence from Amy Lewis enclosing                  0.10             52.50
                       email and call log from 11/5/12 for ResCap.
11/06/12    LMM        Update Call Log with status of returned calls made              0.20             39.00
                       today
11/06/12    LMM        Updated call log chart and conferred with Brian                 0.20             39.00
                       Powers regarding same
11/06/12    SG         Confer with Sara Greenberg regarding status of call             0.40             60.00
                       backs and strategy for responding to calls to ResCap
                       hotline
11/06/12    BP         Update inquiry spreadsheet as to calls received and             1.00           195.00
                       returned
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11/06/12    BP         Confer with Brian W. Powers regarding status of call              0.50             97.50
                       backs and strategy for responding to calls to ResCap
                       hotline
11/06/12    BP         Confer with Brian W. Powers regarding call logs and               0.20             39.00
                       responding to creditor/borrower inquiry of same
11/06/12    BWP        Telephone call from Ethel D. Williams on borrower                 0.10             15.00
                       inquiry line regarding bankruptcy process
11/06/12    BWP        Telephone call from Lon Detlinger on borrower                     0.20             30.00
                       inquiry line regarding bankruptcy process
11/06/12    BWP        Return telephone call from Pamela Grant to SA                     0.20             30.00
                       ResCap hotline regarding bankruptcy process
11/06/12    BWP        Telephone call from Jennifer Leal on borrower                     0.10             15.00
                       inquiry line regarding bankruptcy process
11/06/12    BWP        Telephone call from Harold Hodge on borrower                      0.10             15.00
                       inquiry line regarding bankruptcy process
11/06/12    BWP        Return telephone call from Vicki Scott to SA ResCap               0.20             30.00
                       hotline regarding bankruptcy process
11/06/12    BWP        Return telephone call from Ronald Saver to SA                     0.10             15.00
                       ResCap hotline regarding bankruptcy process
11/06/12    BWP        Telephone call from Gloria Dukes on borrower                      0.10             15.00
                       inquiry line regarding bankruptcy process
11/06/12    BWP        Return telephone calls from Susan Bethon to SA                    0.40             60.00
                       ResCap hotline regarding bankruptcy process
11/06/12    BWP        Return telephone call from Thomas Glover to SA                    0.10             15.00
                       ResCap hotline regarding bankruptcy process
11/06/12    BWP        Telephone call from Dianne Barnes on borrower                     0.20             30.00
                       inquiry line regarding bankruptcy process
11/06/12    BWP        Return telephone call from Carmelita Windburn to SA               0.20             30.00
                       ResCap hotline regarding bankruptcy process
11/06/12    BWP        Telephone call from Tawny Cunningham on SA                        0.20             30.00
                       ResCap hotline regarding bankruptcy process
11/06/12    BWP        Telephone call from Joseph R. Turso on SA ResCap                  0.10             15.00
                       hotline regarding bankruptcy process
11/06/12    BWP        Telephone call from Cynthia Ross on SA ResCap                     0.10             15.00
                       regarding bankruptcy process
11/06/12    BWP        Telephone call from Angela D'Amico on SA ResCap                   0.20             30.00
                       hotline regarding bankruptcy process
11/06/12    BWP        Telephone call from Mary Hug on SA ResCap hotline                 0.10             15.00
                       regarding bankruptcy process
11/06/12    BWP        Telephone call from Leroy Vanosdol on SA ResCap                   0.30             45.00
                       hotline regarding bankruptcy process
11/06/12    BWP        Telephone call from Kathy Moynihan on SA ResCap                   0.20             30.00
                       hotline regarding bankruptcy process
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11/06/12    BWP        Telephone call from Judy Brook on SA ResCap                     0.20             30.00
                       hotline regarding bankruptcy process
11/06/12    BWP        Telephone call from Cynthia Skripol on SA ResCap                0.10             15.00
                       hotline regarding bankruptcy process
11/06/12    BWP        Telephone call from George Manzy on SA ResCap                   0.30             45.00
                       hotline regarding bankruptcy process
11/06/12    BWP        Telephone call from Jack Sherman on SA ResCap                   0.20             30.00
                       hotline regarding bankruptcy process
11/06/12    BWP        Telephone call from Joseph E. Chesney on SA                     0.10             15.00
                       ResCap hotline regarding bankruptcy process
11/06/12    BWP        Telephone call from Bernadette Pass on SA ResCap                0.10             15.00
                       hotline regarding bankruptcy process
11/06/12    BWP        Telephone call from Jannelle Orr on SA ResCap                   0.10             15.00
                       hotline regarding bankruptcy process
11/06/12    BWP        Telephone call from David Mundschau on SA                       0.20             30.00
                       ResCap hotline regarding bankruptcy process
11/06/12    BWP        Telephone call from Patrick Bigelow on SA ResCap                0.10             15.00
                       hotline regarding bankruptcy process
11/06/12    BWP        Telephone call from Lanzy Williams on SA ResCap                 0.10             15.00
                       hotline regarding bankruptcy process
11/06/12    BWP        Telephone call from Susan B. Ogden on SA ResCap                 0.10             15.00
                       hotline regarding bankruptcy process
11/06/12    BWP        Telephone call from John Tizzariello on SA ResCap               0.10             15.00
                       hotline regarding bankruptcy process
11/06/12    BWP        Telephone call from Erlinda Aniel on SA ResCap                  0.20             30.00
                       hotline regarding bankruptcy process
11/06/12    BWP        Telephone call from Candy Kramer on SA ResCap                   0.10             15.00
                       hotline regarding bankruptcy process
11/06/12    BWP        Telephone call from Linda May on SA ResCap                      0.30             45.00
                       regarding bankruptcy process hotline
11/06/12    BWP        Draft response email to Tony O'Dea re: inquiry to SA            0.20             30.00
                       ResCap email address
11/06/12    BWP        Draft response email to Steve Shaver re: inquiry to             0.20             30.00
                       SA ResCap email address
11/06/12    BWP        Return telephone call from Larry E. Walker to SA                0.10             15.00
                       ResCap hotline
11/06/12    BWP        Confer with Berlinda Pierre-Louis re: status of call            0.50             75.00
                       backs and strategy for responding to calls to ResCap
                       hotline
11/06/12    BWP        Telephone call from Mary Newman on SA ResCap                    0.20             30.00
                       hotline
11/06/12    BWP        Telephone call from Shannon Ford on SA ResCap                   0.10             15.00
                       hotline; draft email to same regarding accurate
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                       contact information
11/06/12    BWP        Telephone call from Wally Ashe on SA ResCap                        0.20             30.00
                       hotline; draft email to same with Debtors' hotline
                       phone number
11/06/12    BWP        Confer with Sara Greenberg re: status of call backs                0.40             60.00
                       and strategy for responding to calls to ResCap
                       hotline
11/06/12    BWP        Review reply email of Steven Shaver; draft response                0.20             30.00
                       to same
11/06/12    BWP        Telephone call from Brad Bough on SA ResCap                        0.10             15.00
                       hotline
11/07/12    RJF        Review correspondence from Amy Lewis enclosing                     1.00           525.00
                       ResCap email and call log from 11/6/2012
11/07/12    BP         Review call logs and e-mail log for November 6,                    0.30             58.50
                       2012
11/07/12    BP         Follow up on all e-mail logs; draft e-mails to inquiries           2.30           448.50
                       received in connection with notices served regarding
                       Debtors' case
11/07/12    BWP        Telephone call from Katreen Moorer on SA ResCap                    0.20             30.00
                       hotline regarding bankruptcy process
11/07/12    BWP        Telephone call from Tim Johnson on SA ResCap                       0.10             15.00
                       hotline regarding bankruptcy process
11/07/12    BWP        Telephone call from Melinda Krieger on SA ResCap                   0.10             15.00
                       hotline regarding bankruptcy process
11/07/12    BWP        Telephone call from Antonia Salyer on SA ResCap                    0.20             30.00
                       hotline regarding bankruptcy process
11/07/12    BWP        Telephone call from Louis Ericello on SA ResCap                    0.20             30.00
                       hotline regarding bankruptcy process
11/07/12    BWP        Telephone call from Rashard Grant on SA ResCap                     0.20             30.00
                       hotline regarding bankruptcy process
11/07/12    BWP        Telephone call from Marcia Hasenstab on SA                         0.10             15.00
                       ResCap hotline regarding bankruptcy process
11/07/12    BWP        Telephone call from Mary Lee Flach on SA ResCap                    0.10             15.00
                       hotline regarding bankruptcy process
11/07/12    BWP        Telephone call from Corrine Glass on SA ResCap                     0.10             15.00
                       hotline regarding bankruptcy process
11/07/12    BWP        Telephone call from Michael Baker on SA ResCap                     0.10             15.00
                       hotline regarding bankruptcy process
11/07/12    BWP        Telephone call from Michael Schlafly on SA ResCap                  0.40             60.00
                       hotline regarding bankruptcy process; return call
                       from same
11/07/12    BWP        Telephone call from Judith Jennings on SA ResCap                   0.20             30.00
                       hotline regarding bankruptcy process
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11/07/12    BWP        Telephone call from Michael Cipriano on SA ResCap               0.30             45.00
                       hotline regarding bankruptcy process
11/07/12    BWP        Telephone call from Mara Dasilva on SA ResCap                   0.10             15.00
                       hotline regarding bankruptcy process
11/07/12    BWP        Telephone call from Ryan Flannigan on SA ResCap                 0.20             30.00
                       hotline regarding bankruptcy process
11/07/12    BWP        Telephone call from Marilyn Fooshee on SA ResCap                0.30             45.00
                       hotline regarding bankruptcy process
11/07/12    BWP        Telephone call from Rosanna Tantillo on SA ResCap               0.20             30.00
                       hotline regarding bankruptcy process
11/07/12    BWP        Telephone call from Erica Barber on SA ResCap                   0.10             15.00
                       hotline regarding bankruptcy process
11/07/12    BWP        Telephone call from Brenda Magnuson on SA                       0.20             30.00
                       ResCap hotline regarding bankruptcy process
11/07/12    BWP        Telephone call from Charles Barker on SA ResCap                 0.20             30.00
                       hotline regarding bankruptcy process
11/07/12    BWP        Telephone call from Molly Jane Essama on SA                     0.20             30.00
                       ResCap hotline regarding bankruptcy process
11/07/12    BWP        Telephone call from John Sykes on SA ResCap                     0.10             15.00
                       hotline regarding bankruptcy process
11/07/12    BWP        Telephone call from Tawanna Ervin on SA ResCap                  0.10             15.00
                       hotline regarding bankruptcy process
11/07/12    BWP        Telephone call from Richard Sokorai on SA ResCap                0.20             30.00
                       hotline regarding bankruptcy process
11/07/12    BWP        Telephone call from John Tizzariello on SA ResCap               0.10             15.00
                       hotline regarding bankruptcy process
11/07/12    BWP        Telephone call from Ralph Saturne on SA ResCap                  0.30             45.00
                       hotline regarding bankruptcy process
11/07/12    BWP        Telephone call from Ania Costa on SA ResCap                     0.20             30.00
                       hotline regarding bankruptcy process
11/07/12    BWP        Telephone call from Linda Young on SA ResCap                    0.10             15.00
                       hotline regarding bankruptcy process
11/07/12    BWP        Telephone call from Cody Alexander on SA ResCap                 0.10             15.00
                       hotline regarding bankruptcy process
11/07/12    BWP        Telephone call from Jack Chau on SA ResCap                      0.20             30.00
                       hotline regarding bankruptcy process
11/07/12    BWP        Telephone call from Lydia Laborde on SA ResCap                  0.20             30.00
                       hotline regarding bankruptcy process
11/07/12    BWP        Review email from Steven Shaver re: scheduling of               0.30             45.00
                       mortgage foreclosures; draft response to same
11/07/12    BWP        Telephone call from Louri Erichs on SA ResCap                   0.20             30.00
                       hotline
11/07/12    BWP        Review email from Noelle Newton to SA ResCap                    0.20             30.00
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                       email address; return telephone call to same
11/07/12    BWP        Telephone call from Ferry Hill Condominium                        0.20             30.00
                       Association on SA ResCap hotline
11/07/12    BWP        Follow-up call to Kathy Moynihan regarding proofs of              0.20             30.00
                       claim for equity holders
11/07/12    BWP        Confer with Berlinda Pierre-Louis re: status of                   0.30             45.00
                       callbacks and emails and strategy for responding to
                       same
11/07/12    BWP        Telephone call to Jim Estes as follow-up to email                 0.20             30.00
                       sent to Epiq
11/07/12    BWP        Telephone call to Wendy Gifford as follow-up to                   0.10             15.00
                       email sent to Epiq
11/08/12    RJF        Review correspondence from Amy Lewis enclosing                    0.10             52.50
                       ResCap email and call log from 11/7/2012
11/08/12    RJF        Review correspondence from Elise S. Frejka                        0.10             55.00
                       regarding Res Cap Proof of Claim issue
11/08/12    RJF        Conference with Berlinda Pierre-Louis regarding                   0.20           105.00
                       borrower inquiry
11/08/12    BP         Cross reference e-mail logs from inception through                1.50           292.50
                       present; update spreadsheets
11/08/12    BP         Receive telephone calls regarding notices received                0.60           117.00
11/08/12    BP         Confer with Brian W. Powers regarding status of call              0.50             97.50
                       logs and e-mail logs and strategies for timeliness in
                       handling same
11/08/12    BWP        Telephone call from Randy Curtis on SA ResCap                     0.30             45.00
                       hotline; draft email to same attaching proof of claim
                       form
11/08/12    BWP        Telephone call from Paulette Woodard on SA                        0.20             30.00
                       ResCap hotline regarding bankruptcy process
11/08/12    BWP        Telephone call from Mary C. Wilson on SA ResCap                   0.10             15.00
                       hotline regarding bankruptcy process
11/08/12    BWP        Telephone call from Adrienne Mullings on SA                       0.20             30.00
                       ResCap hotline regarding bankruptcy process
11/08/12    BWP        Telephone call from Rosalinda Larios on SA ResCap                 0.10             15.00
                       hotline regarding bankruptcy process
11/08/12    BWP        Telephone call from Susan Gray on SA ResCap                       0.10             15.00
                       hotline regarding bankruptcy process
11/08/12    BWP        Telephone call from Michael Alape on SA ResCap                    0.20             30.00
                       hotline regarding bankruptcy process
11/08/12    BWP        Telephone call from Michelle Lawson on SA ResCap                  0.20             30.00
                       hotline regarding bankruptcy process
11/08/12    BWP        Several telephone calls from Marily Fooshee on SA                 0.30             45.00
                       ResCap hotline regarding bankruptcy process
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11/08/12    BWP        Telephone call from Martha Suchcicki on SA ResCap               0.10             15.00
                       hotline regarding bankruptcy process
11/08/12    BWP        Telephone call from Connie Parretta on SA ResCap                0.30             45.00
                       hotline regarding bankruptcy process
11/08/12    BWP        Telephone call from Tawanna Ervin on SA ResCap                  0.10             15.00
                       hotline regarding bankruptcy process
11/08/12    BWP        Telephone call from Gina Champion on SA ResCap                  0.20             30.00
                       hotline regarding bankruptcy process
11/08/12    BWP        Telephone call from Nicholas Chase on SA ResCap                 0.20             30.00
                       hotline regarding bankruptcy process
11/08/12    BWP        Telephone call from Stacey McKinney on SA                       0.20             30.00
                       ResCap hotline regarding bankruptcy process
11/08/12    BWP        Telephone call from John Soussa on SA ResCap                    0.10             15.00
                       hotline regarding bankruptcy process
11/08/12    BWP        Telephone call from Eric Renz on SA ResCap hotline              0.10             15.00
                       regarding bankruptcy process regarding bankruptcy
                       process
11/08/12    BWP        Telephone call from John Akard on SA ResCap                     0.10             15.00
                       hotline regarding bankruptcy process
11/08/12    BWP        Telephone call from Jeffrey Eicher on SA ResCap                 0.20             30.00
                       hotline regarding bankruptcy process
11/08/12    BWP        Telephone call from Christopher Noble on SA                     0.10             15.00
                       ResCap hotline regarding bankruptcy process
11/08/12    BWP        Telephone call from Gabriel Schwartz on SA ResCap               0.20             30.00
                       hotline regarding bankruptcy process
11/08/12    BWP        Telephone call from Deborah van Renterghem on SA                0.10             15.00
                       ResCap hotline regarding bankruptcy process
11/08/12    BWP        Telephone call from Deborah van Renterghem on SA                0.10             15.00
                       ResCap hotline regarding bankruptcy process
11/08/12    BWP        Telephone call from Glenda Howell on SA ResCap                  0.10             15.00
                       hotline regarding bankruptcy process
11/08/12    BWP        Telephone call from Robert Altman on SA ResCap                  0.20             30.00
                       hotline regarding bankruptcy process
11/08/12    BWP        Multiple telephone calls from William C. Walker on              0.30             45.00
                       SA ResCap hotline regarding bankruptcy process
11/08/12    BWP        Telephone call from Tom Runyon on SA ResCap                     0.10             15.00
                       hotline regarding bankruptcy process
11/08/12    BWP        Review email from Ivette Rosado to SA ResCap                    0.20             30.00
                       address; draft response to same
11/08/12    BWP        Confer with Berlinda Pierre-Louis re: status of call            0.50             75.00
                       and email log responses and strategy for responding
                       to same
11/08/12    BWP        Telephone call from Richard Barley on SA ResCap                 0.10             15.00
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                       hotline
11/08/12    BWP        Telephone call from Lisa Rolnick on SA ResCap                     0.30             45.00
                       hotline; receive return call from same
11/08/12    BWP        Telephone call from Michelle Coleman on SA                        0.20             30.00
                       ResCap hotline
11/08/12    BWP        Telephone call from Gerrie Katznelson on SA                       0.30             45.00
                       ResCap hotline; draft email to same attaching proof
                       of claim form
11/09/12    RJF        Attend telephone conference with Elise S. Frejka,                 0.40           220.00
                       Brian W. Powers, and Lynne M. Manzolillo regarding
                       issues and concerns of certain Borrowers and
                       potential creditors of ResCap and the affiliated
                       debtors; discuss possible solutions and strategies to
                       assist creditors in determining their position as a
                       possible claimant
11/09/12    RJF        Review correspondence from Lynne M. Manzolillo                    0.10             55.00
                       regarding 800#
11/09/12    RJF        Review correspondence from Brian Powers                           0.10             55.00
                       regarding tax collector issue
11/09/12    RJF        Review correspondence from Amy Lewis enclosing                    0.10             52.50
                       email and call log for ResCap from 11/08/2012.
11/09/12    LMM        Review KCC website for 800 number for Rescap                      0.20             39.00
                       borrower hotline; draft correspondence to Alison
                       Tearnan at KCC regarding information to be added
                       to KCC website
11/09/12    LMM        Attend telephone conference with Elise S. Frejka,                 0.40             78.00
                       Ronald J. Friedman, Brian W. Powers, and Berlinda
                       Pierre-Louis regarding issues and concerns of
                       certain borrowers and potential creditors of ResCap
                       and the affiliated debtors; discuss possible solutions
                       and strategies to assist creditors in determining their
                       position as a possible claimant
11/09/12    BP         Attend telephone conference with Elise S. Frejka,                 0.40             78.00
                       Ronald J. Friedman, Brian W. Powers, and Lynne M.
                       Manzolillo regarding issues and concerns of certain
                       Borrowers and potential creditors of ResCap and the
                       affiliated debtors; discuss possible solutions and
                       strategies to assist creditors in determining their
                       position as a possible claimant
11/09/12    BP         Confer with Brian W. Powers regarding issues and                  0.40             78.00
                       concerns of certain Borrowers and potential creditors
                       of ResCap and the affiliated debtors; discuss
                       Borrowers' concerns as to possible sale of loans and
                       issues surrounding same; set up strategies to handle
                       telephone and e-mail inquiries after business hours
11/09/12    BWP        Telephone call from Marcia Waitekus on SA ResCap                  0.20             30.00
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                       hotline regarding bankruptcy process
11/09/12    BWP        Telephone call from Harold Gates on SA ResCap                   0.10             15.00
                       hotline regarding bankruptcy process
11/09/12    BWP        Telephone call from Franklin Daniel Gonzalez on SA              0.20             30.00
                       ResCap hotline regarding bankruptcy process
11/09/12    BWP        Telephone call from Kurt Rechner on SA ResCap                   0.30             45.00
                       hotline regarding bankruptcy process
11/09/12    BWP        Telephone call from William Verrochi on SA ResCap               0.10             15.00
                       regarding bankruptcy process
11/09/12    BWP        Telephone call from Camille Edwards on SA ResCap                0.20             30.00
                       hotline regarding bankruptcy process
11/09/12    BWP        Telephone call from Pauline Williams on SA ResCap               0.20             30.00
                       hotline regarding bankruptcy process
11/09/12    BWP        Telephone call from Josh Kaufman on SA ResCap                   0.10             15.00
                       hotline regarding bankruptcy process
11/09/12    BWP        Telephone call from Sid Lewis on SA ResCap hotline              0.30             45.00
                       regarding bankruptcy process
11/09/12    BWP        Telephone call from Ermalinda Contreras on SA                   0.10             15.00
                       ResCap hotline regarding bankruptcy process
11/09/12    BWP        Telephone call from Dotty Waverling on SA ResCap                0.10             15.00
                       hotline regarding bankruptcy process
11/09/12    BWP        Telephone call from Deborah van Renterghem on SA                0.10             15.00
                       ResCap hotline regarding bankruptcy process
11/09/12    BWP        Attend telephone conference with Elise S. Frejka,               0.40             60.00
                       Ronald J. Friedman, Berlinda Pierre-Louis, and
                       Lynne M. Manzolillo regarding issues and concerns
                       of certain Borrowers and potential creditors of
                       ResCap and the affiliated debtors; discuss possible
                       solutions and strategies to assist creditors in
                       determining their position as a possible claimant
11/09/12    BWP        Review case docket and court filings regarding sale             0.70           105.00
                       of mortgages and servicing rights
11/09/12    BWP        Confer with Berlinda Pierre-Louis regarding issues              0.40             60.00
                       and concerns of certain Borrowers and potential
                       creditors of ResCap and the affiliated debtors;
                       discuss Borrowers' concerns as to possible sale of
                       loans and issues surrounding same; set up
                       strategies to handle telephone and e-mail inquiries
                       after business hours
11/12/12    RJF        Review correspondence from Berlinda Pierre-Louis                0.10             55.00
                       regarding special inquiry of Anne Campana
11/12/12    RJF        Review correspondence from Amy Lewis enclosing                  0.10             52.50
                       email and call log for ResCap from 11/9/2012
11/12/12    RJF        Review sale motion papers regarding borrower                    0.50           262.50
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                       issues and claims
11/12/12    BP         Update record of call log and e-mails that were                   1.70           331.50
                       received and responded to as of 11/5/2012 through
                       11/12/2012
11/12/12    BP         Telephone call with Anne Campana regarding claim                  0.50             97.50
                       against Debtors and regarding insider information
                       pertaning to possible fraud and litigation
11/12/12    BP         Draft memo to file regarding telephone call with Anne             0.50             97.50
                       Campana
11/12/12    BP         Draft e-mail to Ronald J. Friedman regarding creditor             0.20             39.00
                       inquiry and information gathered regarding case
11/12/12    BP         Confer with Brian W. Powers regarding certain                     0.50             97.50
                       inquiries received from Trustee's in bankruptcy(.2);
                       develop solutions to assisting the Trustee's in
                       determining the properties for which the bankruptcy
                       notices are referencing (.2); review status of call
                       logs and e-mails (.1)
11/12/12    BP         Review e-mail logs for November 8 and November 9,                 0.30             58.50
                       2012
11/12/12    BP         Review conference call notes to properly and                      0.20             39.00
                       effective assist borrowers' inquiry regarding
                       bankruptcy notices
11/12/12    BP         Telephone call to Genevieve Vasatka of Westerman                  0.30             58.50
                       White regarding inquiry in connection with notices
                       received from ResCap bankruptcy; draft e-mail to
                       Ms. Vasatka regarding same; update chart
11/12/12    BP         Review inquiry from Slavik regarding notices                      0.30             58.50
                       received and as to relation to bankruptcy matter;
                       draft e-mail to inquirer regarding same
11/12/12    BWP        Telephone call from Maria Giannetti to SA ResCap                  0.20             30.00
                       hotline regarding bankruptcy process
11/12/12    BWP        Telephone call from Genivive Vasatka on SA                        0.20             30.00
                       ResCap hotline regarding bankruptcy process
11/12/12    BWP        Telephone call from Frank Reed to SA ResCap                       0.50             75.00
                       hotline regarding bankruptcy process
11/12/12    BWP        Telephone call from Mike Deperto to SA ResCap                     0.10             15.00
                       hotline regarding bankruptcy process
11/12/12    BWP        Confer with Berlinda Pierre-Louis re: weekend calls               0.20             30.00
                       and status of email and call log return phone calls
11/12/12    BWP        Confer with Berlinda Pierre-Louis regarding certain               0.50             75.00
                       inquiries received especially from Trustees in
                       bankruptcy; develop solutions to assisting the
                       Trustees in determining the debtors for which the
                       bankruptcy notices are referencing; review status of
                       call logs and e-mails
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11/13/12    RJF        Review correspondence from Elise Frejka regarding                 0.10             55.00
                       TILA/RESPA issues
11/13/12    RJF        Review correspondence from Elise Frejka regarding                 0.10             55.00
                       draft sale order
11/13/12    RJF        Review correspondence from Elise Frejka regarding                 0.10             55.00
                       current status of returned calls/emails
11/13/12    RJF        Review correspondence from Amy Lewis enclosing                    0.10             52.50
                       email and call log from 11/12/2012
11/13/12    BP         Review inquiry by Kenneth Taggart regarding                       0.20             39.00
                       deadline to file adversary proceeding; telephone call
                       to Kenneth Taggart regarding same
11/13/12    BP         Review KCC LLC case site; review status updates                   0.10             19.50
11/13/12    BP         Telephone call with Genevieve of Westerman White                  0.20             39.00
                       regarding association to bankruptcy; discuss
                       possible ways of finding out how to figure out if she is
                       associated
11/13/12    BP         Review inquiry from Lois Naperola regarding her                   0.20             39.00
                       company's association with the Debtors; telephone
                       call with to assist her in determining her company's
                       past involvement and to arrive at a solution to same
11/13/12    BP         Telephone call with Vickie L. Bates regarding status              0.20             39.00
                       of her filed claim; research KCC LLC website to
                       confirm filing of same
11/13/12    BP         Update e-mail log with responses completed to                     0.10             19.50
                       inquiries
11/13/12    BP         Telephone call with Adolph Montgomery of Morgan                   0.30             58.50
                       Stanley Class Action Group to discuss bankruptcy
                       case and to explain reasons why he received notices
                       and what action may be required by him
11/13/12    BP         Review e-mail log for November 12, 2012                           0.20             39.00
11/13/12    BWP        Review EPIQ call and email logs and                               0.60             90.00
                       SilvermanAcampora response logs in connection
                       with confirming that responses are up to date
11/13/12    BWP        Telephone call from Carlene Waters-Hollingsworth to               0.20             30.00
                       SA ResCap hotline regarding bankruptcy process
11/13/12    BWP        Telephone call from Barbara Dubowski to SA                        0.20             30.00
                       ResCap hotline regarding bankruptcy process
11/13/12    BWP        Telephone call from Patty Tetherow to SA ResCap                   0.10             15.00
                       hotline regarding bankruptcy process
11/13/12    BWP        Telephone call from Genivive Vasatka to SA ResCap                 0.20             30.00
                       hotline regarding bankruptcy process
11/13/12    BWP        Telephone call from Emma Dukes to SA ResCap                       0.20             30.00
                       hotline regarding bankruptcy process
11/13/12    BWP        Telephone call from Michael Alluto to SA ResCap                   0.10             15.00
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                       hotline regarding bankruptcy process
11/13/12    BWP        Telephone call from Patty Tetherow to SA ResCap                   0.10             15.00
                       hotline regarding bankruptcy process
11/13/12    BWP        Telephone call from Carline Washburn to SA                        0.10             15.00
                       ResCap hotline regarding bankruptcy process
11/14/12    RJF        Review correspondence from Amy Lewis enclosing                    0.10             52.50
                       email and call log from 11/13/2012
11/14/12    SG         Confer with Brian Powers regarding status of                      0.20             30.00
                       responses for Epiq call and email logs and strategy
                       for handling calls to SA ResCap hotline
11/14/12    SG         Prepare email correspondence to Berlinda                          0.20             30.00
                       Pierre-Louis, Brian Powers, and Lynne Manzolillo
                       regarding Residential Capital status
11/14/12    BP         Review e-mail logs received from Epiq with                        0.10             19.50
                       Borrower/Creditor inquiries
11/14/12    BP         Draft e-mail to Brian W. Powers, Lynne M.                         0.20             39.00
                       Manzolillo, and Sara Greenberg regarding status of
                       e-mail logs and manner of handling same
11/14/12    BP         Review inquiry from Sheri Merlino of Parkview                     0.20             39.00
                       Condo Trust regarding notice received; draft e-mail
                       to Sheri regarding same and to address her
                       questions
11/14/12    BP         Telephone call with Christina Maderros of BB&T                    0.20             39.00
                       regarding notices received in case; discuss
                       reasoning for same; update inquiry log
11/14/12    BWP        Telephone call from Linda Waugh on SA ResCap                      0.10             15.00
                       hotline regarding bankruptcy process
11/14/12    BWP        Telephone call from Sebastian Filguiero on SA                     0.20             30.00
                       ResCap hotline regarding bankruptcy process
11/14/12    BWP        Telephone call from Deborah Pittochelli on SA                     0.10             15.00
                       ResCap hotline regarding bankruptcy process
11/14/12    BWP        Telephone call from Susan M. Fernan on SA                         0.10             15.00
                       ResCap hotline regarding bankruptcy process
11/14/12    BWP        Telephone call from Gary M. Fairman on SA ResCap                  0.20             30.00
                       hotline regarding bankruptcy process
11/14/12    BWP        Telephone call from Adolf Montgomery on SA                        0.30             45.00
                       ResCap hotline regarding bankruptcy process
11/14/12    BWP        Telephone call from Craig Highland on SA ResCap                   0.20             30.00
                       hotline regarding bankruptcy process
11/14/12    BWP        Telephone call from Angelo Stames on SA ResCap                    0.20             30.00
                       hotline regarding bankruptcy process
11/14/12    BWP        Telephone call from Bertha Gamayo on SA ResCap                    0.20             30.00
                       hotline regarding bankruptcy process
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11/14/12    BWP        Telephone call from Marcia Waitekus on SA ResCap                   0.20             30.00
                       hotline regarding bankruptcy process
11/14/12    BWP        Telephone call from Charles Russ on SA ResCap                      0.10             15.00
                       hotline regarding bankruptcy process
11/14/12    BWP        Telephone call from Genivive Capizolli on SA                       0.30             45.00
                       ResCap hotline (.1); second call from Genivive
                       Capizolli on SA ResCap hotline (.2)
11/14/12    BWP        Confer with Sara Greenberg re: status of responses                 0.20             30.00
                       for Epiq call and email logs and strategy for handling
                       calls to SA ResCap hotline
11/15/12    RJF        Telephone call with Elisa Frejka regarding status of               0.30           157.50
                       sale motions and proposed orders
11/15/12    RJF        Prepare email correspondence to Elise Frejka                       0.10             55.00
                       regarding contact for distribution list
11/15/12    RJF        Review correspondence from Elise Frejka regarding                  0.10             55.00
                       committees objection to proposed sale of mortgages
11/15/12    RJF        Review correspondence from Elise Frejka regarding                  0.10             55.00
                       distribution list
11/15/12    RJF        Review correspondence from Amy Lewis from Epiq                     0.10             55.00
                       enclosing email and call log for 11/14/12
11/15/12    RJF        Review correspondence from Elise Frejka regarding                  0.10             55.00
                       matters scheduled to be heard November 19, 2013
                       at 10am
11/15/12    BP         Confer with Brian Powers regarding status of call and              0.20             39.00
                       email log responses; discuss borrower issues and
                       possible borrower questions in connection with
                       upcoming sale of Debtors' assets
11/15/12    BWP        Review email from Brandon Stone to ResCap                          0.20             30.00
                       borrower email address(.1); draft response to same
                       (.1)
11/15/12    BWP        Review response email from Brandon Stone (.1);                     0.30             45.00
                       telephone call to same regarding creation of service
                       lists and his client's possible involvement in case(.2)
11/15/12    BWP        Telephone call from Antoinette Harvey on SA                        0.10             15.00
                       ResCap hotline regarding bankruptcy process
11/15/12    BWP        Telephone call from Matthew Bowes on SA ResCap                     0.20             30.00
                       hotline regarding bankruptcy process
11/15/12    BWP        Telephone call from Martha Lindelow on SA ResCap                   0.40             60.00
                       hotline regarding bankruptcy process
11/15/12    BWP        Telephone call from Kevin Bell on SA ResCap                        0.10             15.00
                       hotline regarding bankruptcy process
11/15/12    BWP        Telephone call from Carol Williams on SA ResCap                    0.20             30.00
                       hotline regarding bankruptcy process
11/15/12    BWP        Telephone call from Carol Carter on SA ResCap                      0.10             15.00
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                       hotline regarding bankruptcy process
11/15/12    BWP        Telephone call from Angela Genasco on SA ResCap                      0.20             30.00
                       hotline regarding bankruptcy process
11/15/12    BWP        Telephone call from Armando Gutierrez on SA                          0.10             15.00
                       ResCap hotline regarding bankruptcy process
11/15/12    BWP        Telephone call from John Pizzariello on SA ResCap                    0.10             15.00
                       hotline regarding bankruptcy process
11/16/12    RJF        Telephone call with Elisa Frejka regarding sale                      0.30           157.50
                       hearing and borrower issues
11/16/12    RJF        Review correspondence from Rachael Ringer from                       0.10             55.00
                       Kramer Levin regarding updated Committee call
11/16/12    RJF        Review correspondence from Amy Lewis enclosing                       0.10             55.00
                       call log for 11/15/2012
11/16/12    RJF        Review correspondence from Elise Frejka regarding                    0.10             55.00
                       documents filed
11/16/12    RJF        Review correspondence from Elise Frejka regarding                    0.10             55.00
                       NACA Objection
11/16/12    RJF        Review correspondence from Aliya Shain of Kramer                     0.10             55.00
                       Levin regarding client matter list
11/16/12    RJF        Prepare correspondence to Berlinda Pierre-Louis;                     0.10             55.00
                       Lynne M. Manzolillo; Brian Powers regarding letters
                       entered on docket related to borrower concerns
11/16/12    RJF        Review correspondence from Rachael Ringer                            0.10             52.50
                       regarding updates on Fannie Mae/Freddie Mac
                       Supplemental Cure Objections, Notices of Intent to
                       Object to RMBS Motion, Committee’s Response to
                       the Debtors’ Production Request, Deposition
                       Schedule, and SilvermanAcampora Retention
                       Application.
11/16/12    BP         Confer with Brian W. Powers regarding case update;                   0.30             58.50
                       discuss upcoming hearing to approve sale of
                       Debtors' assets scheduled for Monday and
                       follow-ups associated with same
11/16/12    BP         Review letter from Kevin Kovas regarding GMAC's                      0.20             39.00
                       failure to provide documentation in connection with
                       its affiliation with Debtors ; review letter from Judith
                       Kopen of Gebhardt & Kiefer regarding receiving
                       notices on behalf of Lebanon Township
11/16/12    BP         Confer with Brian W. Powers regarding handling of                    0.10             19.50
                       inquiries during weekend; discuss letters sent to
                       Hon. Martin Glenn by potential creditors requesting
                       clarification as to their involvement in the case as a
                       possible creditor
11/16/12    BP         Update ResCap call logs                                              0.20             39.00
11/16/12    BP         Telephone call with Sherri regarding case and                        0.10             19.50
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062429     Committee Unsecured Creditors                               Invoice # 91416           Page    24
                       involvement of the 310 Condo Units
11/16/12    BWP        Telephone call from Sheri Merlino of Parkview                     0.40             60.00
                       Condo Trust on SA ResCap hotline regarding
                       bankruptcy process
11/16/12    BWP        Confer with Berlinda Pierre-Louis regarding status of             0.20             30.00
                       call and email log responses; discuss borrower
                       issues and possible borrower questions in
                       connection with upcoming sale of Debtors' assets
11/16/12    BWP        Telephone call from Beverly Carter on SA ResCap                   0.10             15.00
                       hotline regarding bankruptcy process
11/16/12    BWP        Telephone call from Arthur Matthews on SA ResCap                  0.10             15.00
                       hotline regarding bankruptcy process
11/16/12    BWP        Telephone call from Alex White on SA ResCap                       0.20             30.00
                       hotline regarding bankruptcy process
11/16/12    BWP        Telephone call from Darryl (refused to give last                  0.10             15.00
                       name) on SA ResCap hotline regarding bankruptcy
                       process
11/16/12    BWP        Telephone call from Mary Lynn Johnson on SA                       0.20             30.00
                       ResCap hotline regarding bankruptcy process
11/16/12    BWP        Telephone call from Fred Thomas on SA ResCap                      0.20             30.00
                       hotline regarding bankruptcy process
11/16/12    BWP        Telephone call from Susie Baker on SA ResCap                      0.20             30.00
                       hotline regarding bankruptcy process
11/16/12    BWP        Telephone call to Victoria Shemaria on SA ResCap                  0.10             15.00
                       hotline regarding bankruptcy process
11/16/12    BWP        Review email from Rachael Ringer re: committee                    0.10             15.00
                       conference call
11/16/12    BWP        Confer with Sara Greenberg re: strategy for                       0.10             15.00
                       responding to phone inquiries on SA ResCap hotline
11/16/12    BWP        Review letters of Lebanon Township and Kevin C.                   0.20             30.00
                       Kovacs docketed with court regarding borrower
                       issues and objections to the sale
11/16/12    BWP        Confer with Berlinda Pierre-Louis regarding case                  0.30             45.00
                       update; discuss upcoming hearing to approve sale of
                       Debtors' assets scheduled for Monday and
                       follow-ups associated with same
11/16/12    BWP        Confer with Berlinda Pierre-Louis regarding handling              0.10             15.00
                       of inquiries during weekend; discuss letters sent to
                       Hon. Martin Glenn by potential creditors requesting
                       clarification as to their involvement in the case as
                       possible creditors
11/16/12    BWP        Review email from Suzanne Gibson to SA borrower                   0.30             45.00
                       address (.1); draft response to same (.2)
11/19/12    RJF        Review correspondence from Bobby Jenkins                          0.10             55.00
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                       rearding filing of claim
11/19/12    RJF        Review correspondence from Lynne M. Manzolillo                     0.10             55.00
                       regarding Bobby Jenkins and potential auction of his
                       home
11/19/12    RJF        Review correspondence from Rachael Ringer                          0.10             52.50
                       regarding Sale Update
11/19/12    BP         Review telephone message from Susan B. regarding                   0.10             19.50
                       notices she received in connection with case
11/19/12    BP         Review telephone message from Paul Smith                           0.10             19.50
                       regarding notices she received in connection with
                       case and regarding withdrawing money from
                       account; return call
11/19/12    BP         Review telephone message from Russell Bowman                       0.20             39.00
                       regarding notices she reeived in connection with
                       case; telephone call with Mr. Bowman to discuss
                       status of bankruptcy and address his questions as to
                       modification of loan
11/19/12    BP         Telephone call with Patricia Blue regarding notices                0.10             19.50
                       received on behalf of her mother, Rosa Blue
                       regarding questions about filing a Proof of Claim and
                       the deadlines for same
11/19/12    BP         Update call log chart                                              0.10             19.50
11/19/12    BP         Review e-mail and call logs; review inquiry from                   0.30             58.50
                       James Brennan regarding reasons for receiving
                       notice regarding bankruptcy; draft reply regarding
                       same
11/19/12    BP         Review telephone message gfrom Julie Clark                         0.30             58.50
                       (Embarq) regarding notice; telephone call with Julie;
                       darft e-mail enclosing Proof of Claim form with
                       instructions
11/19/12    BP         Confer with Brian W. Powers regarding borrower                     0.20             39.00
                       issues relating to foreclosure action and actions to
                       prevent same; discuss borrower inquiry specific to
                       late filed claims their classification; discuss sale
                       hearing and time line of assignment of the Debtors'
                       assets and its affect on creditors and existing
                       borrowers
11/19/12    BWP        Confer with Berlinda Pierre-Louis regarding borrower               0.20             30.00
                       issues relating to foreclosure action and actions to
                       prevent same; discuss borrower inquiry specific to
                       late filed claims and their classification; discuss sale
                       hearing and timeline of assignment of the Debtors'
                       assets and its affect on creditors and existing
                       borrowers
11/19/12    BWP        Review email from Sharyl Schmotzer to SA ResCap                    0.20             30.00
                       address (.1); draft response to same (.1)
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11/19/12    BWP        Telephone call from John Hantzis on SA ResCap                       0.20             30.00
                       hotline regarding bankruptcy process
11/19/12    BWP        Telephone call from Richard Lobdell on SA ResCap                    0.10             15.00
                       hotline regarding bankruptcy process
11/20/12    RJF        Review correspondence from Amy Lewis regarding                      0.10             55.00
                       email log
11/20/12    RJF        Review correspondence from Nathaniel Allard                         0.10             55.00
                       enclosing dial in information for hearing on asset sale
11/20/12    RJF        Review correspondence from Elise Frejka regarding                   0.10             55.00
                       updated Committee call
11/20/12    RJF        Review correspondence from Berlinda Pierre-Louis                    0.10             55.00
                       regarding Residential Capital, LLC- Reply to Inquiry
                       Regarding Notice(s) Received
11/20/12    BP         Review memo from Rachael Ringer of Kramer Levin                     0.30             58.50
                       regarding hearing held on November 19, 2012 (.1);
                       review proposed Sale Order(.1); review letter filed by
                       Debtors' counsel regarding certain bids (.1)
11/20/12    BP         Telephone call with Marcia J. Hasenstab, Esq. for                   0.30             58.50
                       the Village of Waterford, WI regarding how the
                       Village is related to the bankruptcy case; draft e-mail
                       regarding same
11/20/12    BP         Telephone call with Spencer Brafield, Esq. regarding                0.20             39.00
                       basis for which his client, Josh Gillskie is scheduled
11/20/12    BP         Confer with Brian W. Powers regarding inquiry from                  0.20             39.00
                       Marcia Hasenstad regarding direct information
                       relating to possible claim by the Village of Waterford;
                       discuss solutions to assisting Ms. Hasenstab;
                       discuss handling of calls throughout holiday weekend
11/20/12    BP         Confer with Brian W. Powers regarding status of                     0.20             39.00
                       case and follow ups post hearing held November 19
                       and November 20, 2012
11/20/12    BP         Telephone call with Marcia Hasenstad regarding                      0.10             19.50
                       clarification of response to inquiry in connection with
                       possible claim of the Village of Waterford
11/20/12    BP         Review telephone message from Deborah Weiss                         0.30             58.50
                       regarding notices received; draft e-mail to Ms. Weiss
                       further explaining why she receiving notice
11/20/12    BP         Telephone call to Debtors' Call center to inquire                   0.20             39.00
                       about taxing information; telephone call with Central
                       Service Department regarding assistance to Village
                       of Waterford to identify taxes owed to the town
11/20/12    BP         Draft e-mail to Marcia Hasenstad, Esq. for Village of               0.50             97.50
                       Waterford regarding additional contact information to
                       further assist identifying relations of Debtor to Village
                       of Waterford
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11/20/12    BWP        Confer with Berlinda Pierre-Louis regarding status of               0.10             15.00
                       case and follow ups post hearings held November 19
                       and November 20, 2012
11/20/12    BWP        Telephone call from Ricky Allen Van Dyke on SA                      0.20             30.00
                       ResCap hotline regarding bankruptcy process
11/20/12    BWP        Telephone call from unnamed caller on SA ResCap                     0.30             45.00
                       hotline regarding bankruptcy process
11/21/12    RJF        Review correspondence from Amy Lewis of Epiq                        0.10             55.00
                       enclosing Email and Call Log for 11-20-12
11/21/12    RJF        Review correspondence from Rachael Ringer                           0.10             52.50
                       attaching Berkshire Hathaway and Ocwen sale
                       orders for review and updates on Reminder: Special
                       Regulatory Counsel/CRO Candidates, Hearing
                       Update, November 19, 2012 Hearing Transcript and
                       Objection to Executive Compensation Motion
11/21/12    RJF        Review correspondence from Rachael Ringer                           0.10             52.50
                       regarding updates on Special Regulatory
                       Counsel/CRO Candidates, Hearing Update,
                       November 19, 2012 Hearing Transcript and
                       Objection to Executive Compensation Motion.
11/21/12    BP         Telephone call with Robin Hoch regarding                            0.10             19.50
                       information on lowering rate; directed her to contact
                       Debtor's call center for specific loan information
11/21/12    BP         Review telephone message from Travis Lewis                          0.20             39.00
                       regarding arrears in home payments
11/21/12    BP         Update call log chart                                               0.30             58.50
11/21/12    BP         Review e-mail from Marcia Hasenstab regarding                       0.10             19.50
                       inquiry on behalf of the Village of Waterford
11/21/12    BWP        Telephone call to Eric Scholl on SA ResCap hotline                  0.40             60.00
                       (.1); return telephone call from same regarding
                       school district client (.3)
11/21/12    BWP        Review email from Rachael Ringer re: update on                      0.60             90.00
                       sale hearing (.1); review final proposed orders for
                       sales to Ocwen and Berkshire (.5)
11/21/12    BWP        Confer with Berlinda Pierre-Louis re: status of                     0.20             30.00
                       responses to Epiq call and email logs
11/26/12    RJF        Review correspondence from Rachael Ringer and                       0.20           110.00
                       Philip Bentley of Kramer Levin regarding CRO
                       recommendations
11/26/12    RJF        Review correspondence from Rachael Ringer                           0.10             52.50
                       regarding updates on the Next Committee Call,
                       Letter to AFI Board, Examiner Work Plan and
                       Examiner Conflicts Counsel.
11/26/12    BP         Review telephone message from Julie Clark                           0.10             19.50
                       regarding questions in connection with case
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11/26/12    BP         Review telephone message from Kristi Walker                         0.10             19.50
                       regarding deadline to file Proof of Claim; telephone
                       call to Kristi Walker
11/26/12    BP         Review e-mail from KMG's counsel regarding KMG's                    0.20             39.00
                       consent to extending scheduling Order deadlines;
                       draft e-mail to Amanda Winfree enclosing
                       certification of counsel and proposed order to be
                       e-filed on the Court's docket
11/26/12    BWP        Confer with Berlinda Pierre-Louis re: status of                     0.20             30.00
                       responses to call and email logs; discuss individual
                       caller issues
11/26/12    BWP        Telephone call from Linda Olivier on SA ResCap                      0.20             30.00
                       hotline regarding bankruptcy process
11/26/12    BWP        Telephone call from John Gant on SA ResCap                          0.20             30.00
                       hotline regarding bankruptcy process
11/26/12    BWP        Telephone call from Frank Miles on SA ResCap                        0.20             30.00
                       hotline regarding bankruptcy process
11/26/12    BWP        Telephone call from Romaine Mays on SA ResCap                       0.20             30.00
                       hotline regarding bankruptcy process
11/26/12    BWP        Telephone call from Javed Shaikh on SA ResCap                       0.20             30.00
                       hotline regarding bankruptcy process
11/26/12    BWP        Telephone call from Bryce Berkowitz on SA ResCap                    0.30             45.00
                       hotline regarding bankruptcy process
11/26/12    BWP        Telephone call from Barbara Brown on SA ResCap                      0.10             15.00
                       hotline regarding bankruptcy process
11/26/12    BWP        Telephone call from Michael M. Peters on SA                         0.30             45.00
                       ResCap hotline regarding bankruptcy process
11/26/12    BWP        Telephone call from Peggy Enloe on SA ResCap                        0.20             30.00
                       hotline regarding bankruptcy process
11/27/12    RJF        Review correspondence from Amy Lewis enclosing                      0.10             55.00
                       email and call logs from 11/26
11/27/12    BP         Update administrative chart with call logs and case                 0.20             39.00
                       inquiries
11/27/12    BP         Review e-mail and call logs for November 26, 2012                   0.10             19.50
11/27/12    BP         Review e-mail from Louis Underblake regarding                       0.30             58.50
                       clarification as to which client the notices relates to;
                       draft e-mail to Louis Underblake clarifying same;
                       update e-mail log
11/27/12    BP         Review telephone message from Colleen Gigsby                        0.50             97.50
                       regarding Proof of Claim filed; telephone call with
                       Coleen Gigsby regarding same and discuss Proof of
                       Claim supporting documentation and validity; draft
                       e-mail to Ms. Colleen enclosing a Proof of Claim
                       form
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11/27/12    BWP        Confer with Berlinda Pierre-Louis re: status of call             0.30             45.00
                       and email log responses and responses to inquiries
                       of specific borrowers
11/27/12    BWP        Telephone call from Lynne Sicola on SA ResCap                    0.20             30.00
                       hotline regarding bankruptcy process
11/27/12    BWP        Telephone call from Seth Thompson on SA ResCap                   0.40             60.00
                       hotline regarding bankruptcy process (.1); return call
                       from same (.3)
11/27/12    BWP        Telephone call from Theresa Gosalyn on SA ResCap                 0.20             30.00
                       hotline regarding bankruptcy process
11/27/12    BWP        Telephone call from Anne Campana on SA ResCap                    0.30             45.00
                       hotline regarding bankruptcy process
11/27/12    BWP        Telephone call from Eric Scholl on SA ResCap                     0.20             30.00
                       hotline regarding bankruptcy process
11/27/12    BWP        Telephone call from John Canandaro on SA ResCap                  0.30             45.00
                       hotline regarding bankruptcy process
11/27/12    BWP        Telephone call from Tim Whittington on SA ResCap                 0.10             15.00
                       hotline regarding bankruptcy process
11/27/12    BWP        Telephone call from Robin Schultz on SA ResCap                   0.20             30.00
                       hotline regarding bankruptcy process
11/27/12    BWP        Multiple telephone calls from John E. Satterwhite on             0.40             60.00
                       SA ResCap hotline regarding bankruptcy process
11/27/12    BWP        Telephone call from Emily Pasternoster on SA                     0.20             30.00
                       ResCap hotline regarding bankruptcy process
11/28/12    RJF        Review correspondence from Rachael Ringer                        0.10             52.50
                       regarding RMBS Objection Deadline Update
11/28/12    RJF        Review correspondence from Rachael Ringer                        0.10             52.50
                       regarding updates on Kathy Patrick Group Letters,
                       Motion to Reclassify Claims and Wilmington Trust
                       Statement re: Executive Compensation.
11/28/12    BWP        Review committee update and attached documents                   0.30             45.00
                       for borrower-related issues
11/28/12    BWP        Telephone call from Norma Alterman on SA ResCap                  0.20             30.00
                       hotline regarding bankruptcy process
11/29/12    RJF        Review correspondence from Rachael Ringer                        0.10             52.50
                       regarding RMBS Update
11/29/12    RJF        Review correspondence from Rachael Ringer                        0.10             52.50
                       regarding updates on Next Committee Call and
                       Objection to RMBS Motion
11/29/12    BP         Review e-mail log for November 28, 2012; draft                   0.30             58.50
                       e-mail to Joyce Smith regarding reasons to why she
                       received notice regarding bankruptcy case
11/29/12    BP         Review and organize e-mail replies to inquiries                  0.20             39.00
                       regarding notices received in Debtors' cases
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062429     Committee Unsecured Creditors                              Invoice # 91416           Page    30
11/29/12    BP         Update Admin chart with call logs received and                   0.20             39.00
                       responded
11/29/12    BP         Telephone call with Ken Lee regarding decision to                0.10             19.50
                       file a claim
11/29/12    BP         Telephone call with Jodi Archer regarding filing a               0.20             39.00
                       Proof of Claim and deadlines to same; draft e-mail to
                       Ms. Archer enclosing a Proof of Claim form
11/29/12    BWP        Telephone call from Damaris Palma on SA ResCap                   0.40             60.00
                       hotline regarding bankruptcy process
11/30/12    RJF        Review correspondence (3) from Walter Curchack                   0.30           165.00
                       regarding Rowena Drennen Motion to Certify Class
                       Claim
11/30/12    RJF        Review correspondence from Rachael Ringer                        0.10             52.50
                       regarding updates on RMBS Scheduling Order, Filed
                       RMBS Objections, Notice of Presentment of Order
                       Authorizing Rejection and Motion to Establish
                       Rejection Procedures
11/30/12    BP         Review telephone message from Kirsten Harper of                  0.20             39.00
                       JP Morgan Chase regarding "Class Action"; return
                       telephone call and addressed Debtors' bankruptcy
                       case; update admin chart
11/30/12    BP         Telephone call with Kirsten Harper of JP Morgan                  0.50             97.50
                       Chase regarding "Class Action"; discuss her previous
                       issues with modification and foreclosure action; draft
                       e-mail to Ms. Harper enclosing a Proof of Claim form
                       for her convenience; follow up telephone call with
                       Ms. Harper
11/30/12    BP         Confer with Brian W. Powers regarding status of                  0.20             39.00
                       case and the administrative duties as special counsel
                       to the Official Committee of Unsecured Creditors;
                       discuss sale of the Debtors' assets and the effects of
                       the sale on the borrowers; review possible borrower
                       inquiries with respect to the assignment upon
                       approval of the Sale and the effects on borrowers
11/30/12    BWP        Confer with Berlinda Pierre-Louis regarding status of            0.20             30.00
                       case and the administrative duties as special counsel
                       to the Official Committee of Unsecured Creditors;
                       discuss sale of the Debtors' assets and the effects of
                       the sale on the borrowers; review possible borrower
                       inquiries with respect to the assignment upon
                       approval of the sale
                    Subtotal           Case Administration                        145.40           $30,815.50
         Claims Admin/Ob
10/26/12    SG         Confer with Berlinda Pierre-Louis regarding claims               0.20             30.00
                       agent and Bar Date
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062429     Committee Unsecured Creditors                               Invoice # 91416           Page    31
10/26/12    SG         Conference with Lynne M. Manzolillo regarding task                0.20             30.00
                       at hand regarding Bar Date and Proof of Claim
10/26/12    SG         Review the docket for Residential Capital, LLC for                0.40             60.00
                       bar date information
10/26/12    SG         Prepare correspondence to Ronald J. Friedman,                     0.20             30.00
                       Berlinda Pierre-Louis, Lynne M. Manzolillo, Brian W.
                       Powers regarding information on the Bar Date and
                       Proof of Claim address as well as claimant
                       information
10/26/12    SG         Research the Docket and kccllc.com website to                     0.50             75.00
                       determine valid address to send claim information
10/26/12    BP         Draft e-mail to attorneys and paraprofessionals                   0.30             58.50
                       enclosing inquiry chart which will be used as form to
                       maintain information gathered and communication
                       with the creditors
10/26/12    BP         Review Order regarding proof of claim deadlines                   0.20             39.00
11/05/12    RJF        Review correspondence from Elise Frejka regarding                 0.10             55.00
                       bar date extension
11/05/12    RJF        Review Berrane inquiry and ensure timely response                 0.50           262.50
                       regarding bar date
11/06/12    RJF        Review correspondence from Brian Powers                           0.10             55.00
                       regarding the filing of individual equity/bond holders
                       proofs of claim
11/06/12    RJF        Review correspondence from Brian Powers                           0.10             55.00
                       regarding bar date notice
11/06/12    RJF        Prepare correspondence to Brian Powers responding                 0.10             55.00
                       to his email regarding the filing of individual
                       equity/bond holder proofs of claim
11/06/12    RJF        Telephone call with Elise Frejka regarding bar date               0.20           105.00
                       inquiries
11/06/12    RJF        Conference with Berlinda Pierre-Louis regarding bar               0.10             52.50
                       date
11/06/12    LMM        Telephone call from Beth Spigliani regarding proof of             0.40             78.00
                       claim form and requirements to file same; explained
                       form and requested she seek legal advice from her
                       attorney regarding legal issues related thereto
11/06/12    LMM        Telephone call from Cassandra Ford for Candice                    0.50             97.50
                       Ford regarding assistance in completing POC form
11/06/12    SG         Telephone call with Weiman & Associates LLC                       0.10             15.00
                       regarding potential claim to be filed and whether or
                       not they are listed on a schedule
11/06/12    SG         Telephone call with Barbara Zajac regarding proof of              0.10             15.00
                       claim to be filed and deadline for filing
11/06/12    SG         Telephone call to Janelle Orr regarding Residential               0.10             15.00
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062429     Committee Unsecured Creditors                               Invoice # 91416           Page    32
                       Capital's proof of claim filing
11/06/12    SG         Prepare Proof of Claim form to be mailed to Leroy                 0.10             15.00
                       Vanosdol as per his request
11/06/12    SG         Prepare Proof of Claim form and send to Pamela                    0.10             15.00
                       Henry as per his request
11/06/12    BP         Return telephone calls and reply to e-mails                       4.00           780.00
                       concerning inquiries regarding notices received in
                       case and as to determination whether or not to file
                       proofs of claims in case
11/06/12    BWP        Telephone call from Ian Sampson on borrower                       0.30             45.00
                       inquiry line regarding equity trusts and necessity of
                       filing proofs of claim in the bankruptcies
11/06/12    BWP        Telephone call from Debbie Webber on SA ResCap                    0.20             30.00
                       hotline; draft email to same enclosing Proof of Claim
                       form
11/06/12    BWP        Confer with Ronald J. Friedman re: necessity of filing            0.20             30.00
                       proofs of claim for bond and equity holders
11/06/12    BWP        Draft email to Ronald J. Friedman attaching relevant              0.10             15.00
                       sections of bar date notice regarding equity and
                       bondholder claims
11/07/12    RJF        Review correspondence from Elise Frejka regarding                 0.10             55.00
                       Order extending deadline for filing proofs of claim
11/07/12    BP         Review inquiry by Glynda C. Lowe regarding reasons                0.20             39.00
                       and clarification for notices regarding proof of claim
                       deadlines; draft e-mail explaining and regarding
                       same and enclosing Proof of Claim form and list of
                       Debtors
11/07/12    BP         Telephone call with Debra Pitcochelli regarding                   0.20             39.00
                       notice received and regarding basis to file a Proof of
                       Claim in the case; discuss loan issues and possible
                       claims she may have
11/07/12    BP         Review Order extending Proof of Claim deadlines                   0.20             39.00
11/07/12    BP         Review e-mail from Carla Beddome regarding                        0.20             39.00
                       whether or not to file a Proof of Claim; draft e-mail
                       to Ms. Beddome in reply
11/07/12    BWP        Telephone call from Eric Renz on SA ResCap                        0.40             60.00
                       hotline; return call from same; email to same
                       attaching proof of claim
11/08/12    BP         Draft e-mails in reply to inquiries regarding                     1.20           234.00
                       bankruptcy notices and Proof of Claim deadlines
11/09/12    BP         Review e-mail from Kathy Zatco regarding difficulty               0.20             39.00
                       to download Proof of Claim form; draft e-mail to her
                       enclosing same
11/09/12    BP         Telephone call with Pedro Perez regarding notice he               0.10             19.50
                       has received; discuss possibility of filing a claim
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062429     Committee Unsecured Creditors                               Invoice # 91416           Page    33
11/09/12    BP         Telephone call with Joseph regarding time period for              0.10             19.50
                       which claim can be filed
11/09/12    BP         Telephone call with Mr. Southerland regarding claim               0.30             58.50
                       and filing of same; prepare and fax Proof of Claim
                       form to Ms. Judy on behalf of Mr. Southernland
11/09/12    BWP        Telephone call from Frank Reed on SA ResCap                       0.90           135.00
                       hotline regarding conflict between the sale process
                       and assertions made in his proof of claim
11/13/12    BP         Telephone call with Dan Orourke regarding                         0.30             58.50
                       assistance in completing his Proof of Claim form
11/13/12    BP         Telephone call with Timothy Wendt regarding filing a              0.30             58.50
                       Proof of Claim; prepare an e-mail enclosing copy of
                       a blank Proof of Claim form with instructions
11/13/12    BP         Telephone call with Michael Alluto regarding filing of            0.30             58.50
                       Proof of Claim; review instructions to completing the
                       Proof of Claim
11/13/12    BP         Telephone call with Donna Anthony regarding                       0.20             39.00
                       directions as to whether or not she should file a claim
11/14/12    BWP        Telephone call from Harriet Hudock regarding                      0.30             45.00
                       mortgage sale on SA ResCap hotline; mail proof of
                       claim form to same
11/15/12    BP         Telephone call with William Rocker regarding Proof                0.10             19.50
                       of Claim for, question and assistance in completing
                       form
11/15/12    BP         Telephone call with Michelle Lawson regarding                     0.30             58.50
                       assistance with completing Proof of Claim
11/15/12    BP         Telephone call with regarding Proof of Claim and                  0.10             19.50
                       best address to mail
11/15/12    BP         Telephone call with Deborah Kram regarding Proof                  0.20             39.00
                       of Claim deadlines; discuss Proof of Claim contents
                       as to foreclosure action by Debtors
11/15/12    BP         Telephone call with Suzie Baker regarding                         0.30             58.50
                       assistance with completing Proof of Claim
11/16/12    BP         Telephone call with Erlynne Armstrong regarding                   0.20             39.00
                       Proof of Claim and to obtain a clean copy same; draft
                       e-mail to Ms. Armstrong enclosing same
11/16/12    BP         Telephone call with Erlynne Armstrong regarding                   0.20             39.00
                       further assistance to completing Proof of Claim form
11/19/12    BP         Telephone call with Bobby Jenkins regarding filing of             0.20             39.00
                       Proof of Claim in the bankruptcy case; discuss fast
                       approaching foreclosure on property; draft e-mail to
                       Mr. Jenkins enclosing Proof of Claim for and
                       directions
11/19/12    BP         Telephone call with Bobby Jenkins regarding filing of             0.50             97.50
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062429     Committee Unsecured Creditors                                 Invoice # 91416           Page    34
                         Proof of Claim in the bankruptcy case; assisted Mr.
                         Jenkins with completion of Proof of Claim form
11/20/12     BWP         Confer with Berlinda Pierre-Louis regarding inquiry               0.20             30.00
                         from Marcia Hasenstad regarding direct information
                         relating to possible claim by the Village of Waterford;
                         discuss solutions to assisting Ms. Hasenstab;
                         discuss handling of calls throughout holiday weekend
11/26/12     BP          Review telephone message from Daniel Cuevas                       0.20             39.00
                         regarding Proof of Claim deadlines and the notice
                         received; telephone call with Mr. Cuevas regarding
                         filing a late Proof of Claim
11/26/12     BP          Review telephone message from Karima Righela                      0.10             19.50
                         regarding filing a Proof of Claim
11/26/12     BP          Draft letter to Daniel Cuevas enclosing Proof of                  0.30             58.50
                         Claim Form with Instruction
11/26/12     BP          Finalize letter to Daniel Cuevas enclosing Proof of               0.10             19.50
                         Claim form; prepare for service
11/26/12     BP          Telephone call with Kristi Walker regarding filing of             0.30             58.50
                         Proof of Claim; discuss significance of filing a late
                         Proof of Claim; draft e-mail to Ms. Walker enclosing
                         a Proof of Claim form wit instructions for same
11/26/12     BP          Telephone call with Julie Clark regarding Proof of                0.30             58.50
                         Claim; assisted Julie with completion of Proof of
                         Claim form
11/27/12     BP          Telephone call with Bruce Manning regarding Proof                 0.10             19.50
                         of Claim and questions as to what is owed to him
11/28/12     BP          Review telephone message from Kristi Walker;                      0.30             58.50
                         telephone call with Kristi Walker to assist her with
                         completion of her Proof of Claim form
11/30/12     RJF         Review correspondence from Douglas Mannal                         0.10             55.00
                         regarding Rowena Drennen Motion to Certify Class
                         Claim
11/30/12     RJF         Review correspondence from Rachael Ringer                         0.10             52.50
                         regarding Borrower Motion to Certify Class Claim
11/30/12     RJF         Review correspondence from Rachael Ringer                         0.10             52.50
                         regarding Rowena Drennen Motion to Certify Class
                         Claim
11/30/12     BP          Review e-mail inquiry from Elisa Coccia from the City             0.50             97.50
                         of Hackensack regarding possibility of a claim
                         against the Debtors; direct e-mail to Ms. Coccia
                         regarding same
                      Subtotal           Claims Admin/Ob                              19.70            $4,177.50
         Litigation
11/13/12     PM          Call from E. Frejka to discuss survival of borrower               1.00           525.00
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062429     Committee Unsecured Creditors                                 Invoice # 91416           Page    35
                         counterclaim under HOEPA and TILA post loan sale
                         (.3); research HOEPA defenses (.4); discussion with
                         Ron Friedman (.3)
                      Subtotal           Litigation                                    1.00               $525.00
         Ret Orders
10/25/12     RJF         Conference with Peter Marullo and telephone call                  0.30           157.50
                         with Elise Frejka regarding firm's selection as special
                         counsel
10/26/12     RJF         Review correspondence from Lynne M. Manzolillo                    0.10             55.00
                         enclosing retention documents for review
10/26/12     RJF         Review correspondence from Leslye V. Katz                         0.10             55.00
                         enclosing retention documents
10/26/12     RJF         Prepare email correspondence to Elise Frejka                      0.10             55.00
                         regarding opening issues and retention
10/26/12     LMM         Review Court's docket and summary of services from                1.00           195.00
                         Kramer Levin; draft SilvermanAcampora LLP
                         retention documents (notice of presentment,
                         application, declaration of Ronald J. Friedman and
                         proposed order)
11/15/12     RJF         Review correspondence from Elise Frejka regarding                 0.10             55.00
                         retention docs for SilvermanAcampora LLP
11/15/12     RJF         Review correspondence from Brian Powers                           0.10             55.00
                         regarding SilvermanAcampora retention application
11/15/12     RJF         Review correspondence from Elise Frejka regarding                 0.10             55.00
                         retention application
11/15/12     RJF         Office conference with Brian Powers regarding                     0.30           157.50
                         revisions to the SilvermanAcampora retention
                         application and the proposed sale order and
                         borrower issues arising from same
11/15/12     RJF         Revise SilvermanAcampora LLP retention papers                     0.30           157.50
11/15/12     RJF         Prepare email correspondence to Christine M. Tiso                 0.10             55.00
                         regarding filing of SilvermanAcampora retention
11/15/12     RJF         Prepare email correspondence to Elsie Frejka                      0.10             52.50
                         forwarding retention documents
11/15/12     BWP         Office conference with Ronald J. Friedman re:                     0.30             45.00
                         revisions to the SilvermanAcampora retention
                         application and the proposed sale order and
                         borrower issues arising from same
11/16/12     RJF         Review correspondence from Christine M. Tiso                      0.10             55.00
                         regarding service of retention
11/16/12     RJF         Review correspondence from Rachael Ringer                         0.10             55.00
                         regarding SilvermanAcampora retention
11/16/12     RJF         Review correspondence from Rachael Ringer                         0.10             55.00
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062429     Committee Unsecured Creditors                              Invoice # 91416           Page    36
                       regarding execution of Silverman Acampora
                       retention application
11/16/12    RJF        Review correspondence from Juklie Becker from                    0.10             55.00
                       Wilmington Trust regarding Silverman Acampora
                       retention
11/16/12    RJF        Review correspondence from Rachael Ringer                        0.10             52.50
                       regarding SilvermanAcampora Retention Application
11/16/12    RJF        Review correspondence from Rachael Ringer                        0.10             52.50
                       regarding SilvermanAcampora Retention Application
                       for service and electronic filing.
11/16/12    RJF        Review correspondence from from Christine Tiso                   0.10             55.00
                       enclosing retention application
11/21/12    RJF        Review correspondence from Elise Frejka regarding                0.10             55.00
                       Morrison & Foerster LLP comments to Silverman
                       Acampora retention order
11/21/12    RJF        Review correspondence from Elise Frejka confirming               0.10             55.00
                       language to be added to proposed order to retain
                       SilvermanAcampora
11/21/12    RJF        Review correspondence from Elise Frejka adding                   0.10             55.00
                       Morrison & Foerster LLP comments to the order and
                       request for order to be sent to the Judge
11/26/12    BWP        Review emails from Elise Frejka and Norm                         0.20             30.00
                       Rosenbaum re: revisions to SilvermanAcampora
                       retention order; revise same accordingly
11/27/12    LMM        Review proposed revisions to SilvermanAcampora                   0.20             39.00
                       LLP retention as requested by Debtors' counsel and
                       revise retention order; confer with Ronald J.
                       Friedman regarding same; prepare documents to be
                       emailed to Chambers and confer with Christine M.
                       Tiso
11/30/12    BP         Review case docket for updates; review firm's Order              0.20             39.00
                       approving retention as special counsel to the Official
                       Committee of Unsecured Creditors; draft e-mail to
                       ResCap team enclosing same
11/30/12    RJF        Review correspondence from Conference with Brian                 0.10             55.00
                       W. Powers regarding litigation issues and enclosing
                       signed order approving retention of Silverman
                       Acampora
                    Subtotal           Ret Orders                                   4.70            $1,858.00

                       For professional services rendered                         201.30           $45,622.50


                                             Atty/Para Summary

 Name                                                               Hours         Rate                   Amount
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062429     Committee Unsecured Creditors                            Invoice # 91416    Page     37
 Acampora, Anthony C.                                               1.50     595.00               $892.50
 Friedman, Ronald J                                                 0.00       0.00                  $0.00
 Friedman, Ronald J                                                22.40     525.00           $11,760.00
 Friedman, Ronald J                                                 9.90     550.00            $5,445.00
 Greenberg, Sara                                                    9.40     150.00            $1,410.00
 Pierre- Louis, Berlinda                                            0.00       0.00                  $0.00
 Pierre- Louis, Berlinda                                           55.60     195.00           $10,842.00
 Manzolillo, Lynne M                                               11.40     195.00            $2,223.00
 Marullo, Peter                                                     1.00     525.00               $525.00
 Powers, Brian W.                                                  87.10     150.00           $11,940.00
 Wittneben, Christine M                                             3.00     195.00               $585.00
                                                                  201.30                      $45,622.50

Disbursements
           11/09/2012      FAX                                                                     2.25
           11/06/2012      Postage                                                                 1.35
           11/14/2012      Postage                                                                 0.45
           11/20/2012      FEDX to:Judge Martin Glenn                                             18.32
           11/26/2012      Postage                                                                 0.45
                                                                                       _____________
                                                                              TOTAL            $22.82



                                           Disbursement Summary

                  010      Fax                                                            $2.25
                  015      Postage                                                       $20.57
                                                                                         $22.82



Balance due                                                                               $45,645.32
